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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Patricia Demus
                                          Plaintiff,
v.                                                         Case No.: 1:14−cv−03643
                                                           Honorable Jorge L. Alonso
Portfolio Recovery Associates LLC
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 6, 2015:


        MINUTE entry before the Honorable Jorge L. Alonso: An agreed stipulation of
dismissal has been filed. This case is dismissed with prejudice. The status hearing date of
4/9/15 is stricken. Civil Case Terminated. Notice mailed by judge's staff (ntf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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